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                     EXHIBIT 23
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From:                 Dorsett, Savannah - HPL
Sent:                 Monday, March 20, 2017 2:47 PM CDT
To:                   ashley.schmidt@fortworthtexas.gov
CC:                   Dobos, Bradford - HPL; Bustamante, Patricia - HPL
Subject:              Homeless Resources/Trainings
Attachments:          Homeless Help ID Handout v4.docx, Homeless Help Food Handout.docx


Dear Ms. Schmidt,

I am following up with you regarding our discussion of resources and trainings to best serve the
homeless patrons at the Fort Worth Public Library. I think last week I also spoke to one of your
colleagues Laura DelaPaz and I attempted to email her but it did not go through. Profuse apologies for
that and please feel free to forward this to her as well. As my coworker Brad Dobos told you, two years
ago we first started creating handouts and staff trainings to address the homeless population we see at
the Houston Public Library. They include an overview of the process to obtain a photo ID as this can
often be extremely convoluted and requires trips to multiple social service agencies. Without a photo ID,
a person cannot get a library card, cannot apply for benefits and employment and often cannot get into
a homeless shelter. The other handout we created was a breakdown of places in the area that serve
meals—no questions asked, no ID required and they do not need to be referred by a social service
agency. All told these took about six months to eight months to create since we had to verify
information. We also have done periodic staff trainings on social services in the area.

While the specific agencies we list might not apply to you since you are in the Fort Worth area, I am
including examples so that you can get a rough idea of what something similar would look like.

ALA has an online toolkit with useful information, statistics and some tips on how to begin a homeless
engagement project at your library.

http://www.ala.org/offices/extending-our-reach-reducing-homelessness-through-library-engagement

PLA also has a really wonderful webinar on libraries and the homeless with a ton of demographic data. It
is very statistic heavy but it really does a lot to get into who the homeless really are and move beyond
the stereotypes. Further, the discussion of ‘a trauma informed approach to care’ did a lot to change how
I interacted with our homeless patrons. For many, the circumstances of what led them to homelessness
(loss of job, military service, fleeing domestic violence) and the very act of being homeless in and of itself
are extremely traumatic and has a huge impact on how they perceive the world—including how they
perceive library staff.

http://www.ala.org/pla/onlinelearning/webinars/archive/homelessness


The Houston Public Library system also made mandatory for all staff the Librarian’s Guide to
Homelessness. This is a fantastic and extremely informative webinar. The man leading it has been
working in homeless shelters his entire career and it provides practical and relevant information to best
serve our patrons who are experiencing homelessness. This one might require registration and paying
for it, but I view it as well worth it!

http://www.homelesslibrary.com/




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He does have some useful free resources on his website:

http://www.homelesslibrary.com/free-resources.html


I think these two webinars do a lot to change the dialogue and perception of our homeless patrons and
that is the first step. Mostly it really just comes down to researching the social service agencies in your
area and beginning to develop those community partnerships. It can be a daunting task at times since
social service agencies might be scattered throughout the city, their contact information is difficult to
locate/out of date or they do not reply but keep at it. The informational needs of the homeless are often
misunderstood but, I think it is well worth the effort in terms of better understanding and creating a
staff better equipped to handle difficult situations.

The Coalition for the Homeless-Houston has a lot of useful resources and a quick reference guide to
Houston area social service agencies.

http://www.homelesshouston.org/

In terms of comparable organizations in Fort Worth, this seems a useful starting point:

http://www.ahomewithhope.org/


I do know that the Dallas Public Library has done a lot regarding homeless engagement and even
received a large grant from the Institute of Library and Museum Services. It might be worth picking their
brain as well, if you have not already done so.

https://dallaslibrary2.org/homeless/


And in terms of service models and engagement, the gold standard might be the San Francisco Public
Library which was the first public library to hire a full time social worker.

http://www.citylab.com/navigator/2016/03/humanizing-homelessness-at-the-san-francisco-public-
library/475740/


Another great resource is t3 by the Center for Social Innovation. While, it is not specifically targeted
towards libraries or librarians, much of the material is relevant when it comes to working with
individuals who are homeless and some of the background information is useful especially the Behind
the Numbers webinar and the one on homelessness and trauma.

http://us.thinkt3.com/



Good luck to you in your endeavors!




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Savannah Dorsett
Senior Library Service Specialist
Central Library
500 McKinney St.
Houston, TX 77002




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                Sunday           Monday            Tuesday          Wednesday            Thursday             Friday           Saturday
Breakfast   Lord of the                         Crossroads at                         Crossroads at                         Loaves and
            Streets (LOTS),                     Park Place, eat                       Park Place, eat                       Fishes, eat @
            eat @ 8:00 am                       @ 7:30 AM –                           @ 7:30 AM –                           7:30 AM – 8:00
                                                9:30 AM                               9:30 AM                               AM
            Loaves and
            Fishes, eat @
            7:30 AM – 8:00
            AM
 Lunch      The Beacon,       The Beacon,       Crossroads at     Loaves and          The Beacon, eat     The Beacon,       The Beacon,
            eat @ 11:00       eat @ 11:00       Park Place, eat   Fishes, line up     @ 11:00 PM –        eat @ 11:00       eat @ 11:00 PM
            PM – 1:00 PM      PM – 1:00 PM      @ 11:15 AM –      @ 10:30, eat @      1:00 PM             PM – 1:00 PM      – 1:00 PM
                                                1:30 PM           11:00 AM –
            Loaves and        SEARCH                              12:30 AM            Crossroads at       Loaves and        Loaves and
            Fishes, line up   Homeless, eat     Loaves and                            Park Place, eat     Fishes, line up   Fishes, line up
            @ 10:30, eat @    @ 11:30           Fishes, line up   SEARCH              @ 11:15 AM –        @ 10:30, eat      @ 10:30, eat @
            11:00 AM –                          @ 10:30, eat @    Homeless, eat       1:30 PM             @ 11:00 AM –      11:00 AM –
            12:30 PM                            11:00 AM –        @ 11:30                                 12:30 PM          12:30 PM
                                                12:30 AM                              Loaves and
                                                                                      Fishes, line up     SEARCH
                                                SEARCH                                @ 10:30, Eat @      Homeless, eat
                                                Homeless, eat                         11:00 AM –          @ 11:30
                                                @ 11:30                               12:30 PM

                                                                                      SEARCH
                                                                                      Homeless, eat
                                                                                      @ 11:30
 Dinner     Vegan Meals,      Vegan Meals,                        Vegan Meals,                            Vegan Meals,
            Food Not          Food Not                            Food Not                                Food Not
            Bombs, Library    Bombs, Library                      Bombs, Library                          Bombs, library
            Plaza @ 7:00      Plaza @ 8:00                        Plaza @ 8:00                            Plaza @ 8:00
            PM                PM                                  PM                                      PM
 Bagged /                     Sack Lunch,       Sack Lunch,       Sack Lunch,         Sack Lunch,         Sack Lunch,
Take Away                     Lord of the       Lord of the       Lord of the         Lord of the         Lord of the
                              Streets (LOTS),   Streets (LOTS),   Streets (LOTS),     Streets (LOTS),     Streets (LOTS)
                              eat @ 5:00 PM     eat @ 5:00 PM     eat @ 5:00 PM       eat @ 5:00 PM       eat @ 5:00 PM

                              Sack Lunch,       Sack Lunch,       Sack Lunch,         Sack Lunch,         Sack Lunch,
                              Trinity           Trinity           Trinity Episcopal   Trinity Episcopal   Trinity
                              Episcopal         Episcopal         Church @ 5:30       Church @ 5:30       Episcopal
                              Church @ 5:30     Church @ 5:30     PM                  PM                  Church @ 5:30
                              PM                PM                                                        PM




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Contact Information:

The Beacon (John S. Dunn’s Center)   Loaves and Fishes               SEARCH Homeless                Trinity Episcopal Church
1212 Prairie St.                     2009 Congress Ave               2015 Congress Ave.             1015 Holman St.
Houston TX 77002                     Houston TX 77002                Houston TX 77002               Houston TX 77002
713-220-9737                         713-224-1373                    713-739-7752                   713-528-4100
Lord of the Streets                  Food Not Bombs
3401 Fannin St                       fnbhouston@riseup.net
Houston TX 77004
713-526-0311




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